      Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 1 of 22



1    CHAD A. READLER
     Acting Assistant Attorney General
2    ALEX G. TSE
3    Acting United States Attorney
     JOHN R. TYLER
4    Assistant Director
     W. SCOTT SIMPSON (Va. Bar #27487)
5    Senior Trial Counsel
     Department of Justice, Room 7210
6    Civil Division, Federal Programs Branch
7    20 Massachusetts Avenue, NW
     Washington, D.C. 20530
8    Telephone:     (202) 514-3495
     Facsimile:     (202) 616-8470
9    E-mail:        scott.simpson@usdoj.gov
10   COUNSEL FOR DEFENDANTS
11   JEFFERSON B. SESSIONS III, Attorney
     General of the United States; ALAN R.
12   HANSON, Principal Deputy Assistant Attorney
     General; and U.S. DEPARTMENT OF JUSTICE
13
14                                 IN THE UNITED STATES DISTRICT COURT
15
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
                                           SAN FRANCISCO DIVISION
17
     CITY AND COUNTY OF SAN
18   FRANCISCO,                                      No. 3:17-cv-04642-WHO
19
                             Plaintiff,              DEFENDANTS’ ANSWER TO FIRST
20                 v.                                AMENDED COMPLAINT

21   JEFFERSON B. SESSIONS III, Attorney
     General of the United States, et al.,
22
23                           Defendants.

24
25
            The defendants, by their undersigned counsel, hereby answer plaintiff’s First Amended
26
     Complaint as follows:
27
28

     Answer to First Am. Complaint
     No. 3:17-cv-04642-WHO
         Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 2 of 22



1                                             FIRST DEFENSE
2            Plaintiff lacks standing as to Counts One, Two, and Three of the First Amended
3    Complaint.
4                                            SECOND DEFENSE
5            Counts One, Two, and Three of the First Amended Complaint are constitutionally unripe.
6                                             THIRD DEFENSE
7            The First Amended Complaint fails to state a claim upon which relief can be granted.
8                                           FOURTH DEFENSE
9            Defendants answer the paragraphs of plaintiff’s First Amended Complaint as follows, in

10   correspondingly numbered paragraphs:
11                                            INTRODUCTION1
12           1. The first sentence of this paragraph sets forth plaintiff’s characterization of this action,
13   to which no response by the defendants is required. The second sentence purports to characterize
14   certain grant conditions in the Edward Byrne Memorial Justice Assistance Grant Program
15   (“Byrne JAG Program”) for Fiscal Year 2017, to which the Court is respectfully referred for a full
16   and accurate statement of their contents. The remainder of this paragraph sets forth plaintiff’s
17   conclusions of law, to which no response by the defendants is required; to the extent a response is
18   deemed required, plaintiff’s conclusions of law are denied.
19           2-6. These paragraphs are in the nature of rhetorical commentary and legal argument
20   rather than factual allegations, including assertions that San Francisco has a “vibrant” immigrant
21   community, that the City is “stronger” when its officials do not enforce immigration laws, that the
22   City has made a “considered” judgment not to provide certain information to federal authorities,
23   that the President has engaged in “coercive tactics,” and that the Attorney General has tried to
24   create a “stigma” and has “targeted” San Francisco and other jurisdictions. As such, these
25
26
27   	       1
               Defendants include the headings listed in the First Amended Complaint solely to assist
     in the reading of the pleadings, and do not admit the accuracy of such headings or any
28
     characterizations contained therein.
     Answer to First Am. Complaint                    2
     No. 3:17-cv-04642-WHO
      Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 3 of 22



1    paragraphs require no response by the defendants. To the extent a response is deemed required,
2    these paragraphs are denied.
3           7-8. These paragraphs purport to summarize and characterize the Edward Byrne
4    Memorial Justice Assistance Grant Program FY 2017 State Solicitation, which is part of the
5    Administrative Record in this matter, and to which the Court is respectfully referred for a full and
6    accurate statement of its contents. To the extent the allegations of this paragraph are inconsistent
7    with the Administrative Record, defendants deny them. Defendants also specifically deny any
8    implication that the language contained in the State Solicitation constituted the actual grant
9    conditions with which grantees would be expected to comply.

10          9-10. These paragraphs set forth plaintiff’s conclusions of law, to which no response by
11   the defendants is required. To the extent a response is deemed required, plaintiff’s conclusions of
12   law are denied.
13          11. Defendants lack knowledge or information sufficient to form a belief as to the truth of
14   this paragraph.
15          12-16. These paragraphs set forth plaintiff’s conclusions of law, to which no response by
16   the defendants is required. To the extent a response is deemed required, plaintiff’s conclusions of
17   law are denied.
18          17-19. These paragraphs are in the nature of rhetorical commentary and legal argument
19   rather than factual allegations, including assertions that San Francisco faces the “immediate”
20   prospect of losing funds, that one of its programs is “pioneering,” and that the City faces a “stark”
21   and “unacceptable” choice. As such, these paragraphs require no response by the defendants. To
22   the extent a response is deemed required, these paragraphs are denied.
23          20. This paragraph sets forth plaintiff’s characterization of this action, to which no
24   response by the defendants is required.
25                                    JURISDICTION AND VENUE
26          21-22. These paragraphs set forth plaintiff’s conclusions of law, to which no response by
27   the defendants is required. To the extent a response is deemed required, plaintiff’s conclusions of
28
     Answer to First Am. Complaint                     3
     No. 3:17-cv-04642-WHO
      Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 4 of 22



1    law are denied. The defendant specifically denies that the Court has jurisdiction over Count One
2    of plaintiff’s First Amended Complaint.
3                                     INTRADISTRICT ASSIGNMENT
4           23. This paragraph sets forth plaintiff’s conclusions of law, to which no response by the
5    defendants is required. To the extent a response is deemed required, plaintiff’s conclusions of
6    law are denied.
7                                                  PARTIES
8           24. Defendants admit this paragraph.
9           25. Defendants admit the first sentence of this paragraph. The second sentence sets forth

10   plaintiff’s characterization of this action, to which no response by the defendants is required.
11   Defendants deny the third sentence of this paragraph, except to admit that the Attorney General is
12   the head of the U.S. Department of Justice.
13          26. Defendants deny the first sentence of this paragraph, except to admit that defendant
14   Alan R. Hanson is the Principal Deputy Assistant Attorney General of the Office of Justice
15   Programs, which administers Byrne JAG funding. The second sentence sets forth plaintiff’s
16   characterization of this action, to which no response by the defendants is required.
17          27. Defendants admit this paragraph.
18          28. This paragraph sets forth plaintiff’s characterization of this action, to which no
19   response by the defendants is required. Counsel for defendants does not represent any individuals
20   referred to in this paragraph.
21                                      FACTUAL ALLEGATIONS
22   I.     San Francisco’s Sanctuary City Laws And Policies
23           29. Defendants lack knowledge or information sufficient to form a belief as to the truth
24   of this paragraph, including plaintiff’s use of the undefined term “Sanctuary City” both here and
25   throughout the First Amended Complaint.
26          30. This paragraph sets forth plaintiff’s conclusions of law, to which no response by the
27   defendants is required. To the extent a response is deemed required, plaintiff’s conclusions of
28   law are denied.
     Answer to First Am. Complaint                     4
     No. 3:17-cv-04642-WHO
      Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 5 of 22



1           31. Defendants lack knowledge or information sufficient to form a belief as to the truth of
2    the first sentence of this paragraph. The second and third sentences purport to summarize and
3    characterize certain provisions of San Francisco’s ordinances, to which the Court is respectfully
4    referred for a full and accurate statement of their contents. The fourth sentence of this paragraph
5    purports to summarize and characterize a third-party publication, to which the Court is
6    respectfully referred for a full and accurate statement of its contents.
7           32-34. These paragraphs purport to summarize and characterize certain provisions of San
8    Francisco’s current and former ordinances, to which the Court is respectfully referred for a full
9    and accurate statement of their contents.

10          35. The first sentence of this paragraph purports to summarize and characterize certain
11   provisions of San Francisco ordinances, to which the Court is respectfully referred for a full and
12   accurate statement of their contents. Defendants lack knowledge or information sufficient to
13   form a belief as to the truth of the second sentence of this paragraph, except to admit that a civil
14   immigration detainer is not a criminal warrant. The remainder of this paragraph is denied, except
15   to admit that (1) a civil immigration detainer, when issued by an immigration officer of U.S.
16   Immigration and Customs Enforcement (“ICE”), is based on a prior finding of probable cause to
17   believe that the subject is an alien who is removable from the United States; (2) an ICE civil
18   immigration detainer must be accompanied by either a properly completed Form I-200 (Warrant
19   for Arrest of Alien) signed by an authorized supervisory ICE immigration officer or a properly
20   completed Form I-205 (Warrant of Removal/Deportation) signed by an authorized supervisory
21   ICE immigration officer; and (3) a civil immigration detainer issued in accordance with these
22   requirements includes a request to a federal, state, local, or tribal law enforcement agency
23   (“LEA”) to advise DHS prior to release of the alien, and to maintain custody of the alien for a
24   period not to exceed forty-eight hours beyond the time when he/she would otherwise have been
25   released from the LEA’s custody, to allow DHS to assume custody. See U.S. Immigration and
26   Customs Enforcement, Policy Number 10074.2, Issuance of Immigration Detainers by ICE
27   Immigration Officers (Mar. 24, 2017), available at https://www.ice.gov/ detainer-policy
28   (Attachment 1 hereto); Department of Homeland Security, Immigration Detainer - Notice of
     Answer to First Am. Complaint                      5
     No. 3:17-cv-04642-WHO
      Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 6 of 22



1    Action, DHS Form I-247A (3/17), available at https://www.ice.gov/ detainer-policy (Attachment
2    2 hereto); ICE Guidance for Completing Form I-247A, available at https://www.ice.gov/
3    detainer-policy (Attachment 3 hereto); U.S. Department of Homeland Security, Warrant for
4    Arrest of Alien, Form I-200 (Rev. 09/16), available at https://www.ice.gov/ detainer-policy
5    (Attachment 4 hereto); Department of Homeland Security, U.S. Immigration and Customs
6    Enforcement, Warrant of Removal/Deportation, ICE Form I-205 (8/07), available at
7    https://www.ice.gov/ detainer-policy (Attachment 5 hereto).
8           36-38. These paragraphs purport to summarize and characterize certain provisions of San
9    Francisco’s current and former ordinances, to which the Court is respectfully referred for a full

10   and accurate statement of their contents.
11          39-41. Defendants lack knowledge or information sufficient to form a belief as to the
12   truth of these paragraphs.
13   II.    The Trump Administration Has Allegedly Engaged In A Campaign To Eradicate
14          Sanctuary City Policies.
            42. This paragraph is in the nature of rhetorical commentary and legal argument rather
15
     than factual allegations, including assertions that “numerous” and “widespread” jurisdictions have
16
     enacted certain policies. As such, this paragraph requires no response by the defendants. To the
17
     extent a response is deemed required, these paragraphs are denied.
18
            43-45. These paragraphs purport to summarize and characterize certain statements by the
19
     President, the Attorney General, and the former White House Press Secretary, to which the Court
20
     is respectfully referred for a full and accurate statement of their contents.
21
            46-49. These paragraphs purport to summarize and characterize certain portions of
22
     Executive Order 13,768, to which the Court is respectfully referred for a full and accurate
23
     statement of its contents.
24
            50. This paragraph purports to summarize and characterize certain statements by the
25
     former White House Press Secretary, to which the Court is respectfully referred for a full and
26
     accurate statement of their contents.
27
28
     Answer to First Am. Complaint                      6
     No. 3:17-cv-04642-WHO
      Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 7 of 22



1           51. This paragraph purports to summarize and characterize a decision by this Court, to
2    which the Court is respectfully referred for a full and accurate statement of its contents.
3    II.    The Administration Is Allegedly Attempting To Use The Byrne JAG Program To
4           Coerce Cities Like San Francisco To Abandon Their Sanctuary City Policies.

5           A.      The Byrne JAG Program Is A Longstanding Federal Formula
                    Grant Program.
6
            52. This paragraph is in the nature of rhetorical commentary and legal argument rather
7
     than factual allegations, including assertions that this Court “stymied” Executive Order 13,768,
8
     that the grant conditions challenged here are a “more targeted approach,” and that these
9
     conditions constitute a new “device.” As such, this paragraph requires no response by the
10
     defendants. To the extent a response is deemed required, this paragraph is denied.
11
            53-56. These paragraphs purport to summarize and characterize certain federal statutes
12
     and appropriations acts, to which the Court is respectfully referred for a full and accurate
13
     statement of their contents.
14
            57. Defendants admit that the Byrne JAG Program is a formula grant program, that the
15
     Bureau of Justice Assistance (“BJA”) is a component of the Office of Justice Programs (“OJP”),
16
     and that BJA awards Byrne JAG funds to eligible grantees in amounts based on Bureau of Justice
17
     Statistics calculations derived from the Byrne JAG statutory formula. The remainder of this
18
     paragraph purports to summarize and characterize certain federal statutes and a judicial decision,
19
     to which the Court is respectfully referred for a full and accurate statement of their contents.
20
            58. This paragraph purports to summarize and characterize certain federal statutes, to
21
     which the Court is respectfully referred for a full and accurate statement of their contents.
22
            59. This paragraph purports to summarize and characterize a portion of the Justice
23
     Assistance Grant Program Technical Report of 2016, to which the Court is respectfully referred
24
     for a full and accurate statement of their contents. U.S. Dep’t of Justice, Office of Justice
25
     Programs, Bureau of Justice Statistics, Technical Report, Justice Assistance Grant Program, 2016
26
     at 2 (Sept. 2016), https://www.bja.gov/jag/pdfs/JAG-Technical-Report.pdf. Defendants admit
27
28
     Answer to First Am. Complaint                     7
     No. 3:17-cv-04642-WHO
      Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 8 of 22



1    that this paragraph of the First Amended Complaint accurately describes part of the process of
2    allocating Byrne JAG funds to eligible jurisdictions.
3            60. This paragraph purports to summarize and characterize certain federal statutes, to
4    which the Court is respectfully referred for a full and accurate statement of their contents.
5            61. Defendants admit the first, second, third, and fourth sentences of this paragraph,
6    insofar as OJP ultimately determines that California and local jurisdictions within California meet
7    the eligibility requirements for a Byrne JAG grant. In relation to the second sentence, defendants
8    clarify that 40% of the overall allocation for each State is allocated for direct grants from OJP to
9    eligible local jurisdictions within the State. Defendants lack knowledge or information sufficient

10   to form a belief as to the truth of the fifth sentence.
11           62. This paragraph purports to summarize and characterize certain federal statutes, to
12   which the Court is respectfully referred for a full and accurate statement of their contents.
13   Defendants aver, however, that applicants are “entitled” to funds only after satisfying the
14   requirements for eligibility.
15           63. This paragraph sets forth plaintiff’s conclusions of law, to which no response by the
16   defendants is required. To the extent any response is deemed required, plaintiff’s conclusions of
17   law are denied.
18           64-65. These paragraphs purport to summarize and characterize certain current or former
19   federal statutes, to which the Court is respectfully referred for a full and accurate statement of
20   their contents.
21           B.        San Francisco Allegedly Uses Byrne JAG Funds To Support Vital
22                     City Services.
             66. Defendants admit the first sentence of this paragraph. Defendants lack knowledge or
23
     information sufficient to form a belief as to the truth of the remainder of this paragraph.
24
             67-70. Defendants lack knowledge or information sufficient to form a belief as to the
25
     truth of these paragraphs.
26
27
28
     Answer to First Am. Complaint                       8
     No. 3:17-cv-04642-WHO
      Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 9 of 22



1           C.      Plaintiff Alleges That The Department Of Justice Unlawfully Requires
                    San Francisco To Certify Compliance With Section 1373 As A Condition
2                   Of Receiving Byrne JAG Funding.
3           71. This paragraph sets forth plaintiff’s conclusions of law, to which no response by the
4    defendants is required. To the extent a response is deemed required, plaintiff’s conclusions of
5    law are denied. Defendants specifically deny the allegation that “few restrictions” were imposed
6    on grantees in the Byrne JAG Program during prior years, and aver that fifty-one express
7    conditions were included, for example, in San Francisco’s FY 2016 Byrne JAG award.
8           72. The first and third sentences of this paragraph purport to summarize and characterize
9    certain guidance that OJP provided to Byrne JAG grantees on July 7, 2016, which is part of the
10   Administrative Record in this matter, and to which the Court is respectfully referred for a full and
11   accurate statement of its contents. To the extent the allegations of these sentences are inconsis-
12   tent with the Administrative Record, defendants deny them. The second sentence purports to
13   summarize and characterize certain federal statutes, to which the Court is respectfully referred for
14   a full and accurate statement of their contents.
15          73. This paragraph purports to summarize and characterize certain federal statutes, to
16   which the Court is respectfully referred for a full and accurate statement of their contents.
17          74-77. These paragraphs purport to summarize and characterize certain guidance
18   documents that OJP provided to Byrne JAG grantees on July 7 and October 6, 2016, which are
19   part of the Administrative Record in this matter, and to which the Court is respectfully referred
20   for a full and accurate statement of their contents. To the extent the allegations of this paragraph
21   are inconsistent with the Administrative Record, defendants deny them.
22          78-81. These paragraphs purport to summarize and characterize certain portions of the
23   Byrne JAG Program FY 2017 Local Solicitation, to which the Court is respectfully referred for a
24   full and accurate statement of its contents.
25          82-83. Defendants admit these paragraphs.
26          84-86. These paragraphs purport to summarize and characterize certain portions of a
27   letter from OJP to San Francisco, which is Exhibit A to plaintiff’s First Amended Complaint, and
28   to which the Court is respectfully referred for a full and accurate statement of its contents.
     Answer to First Am. Complaint                      9
     No. 3:17-cv-04642-WHO
     Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 10 of 22



1            87. This paragraph purports to summarize and characterize certain portions of a letter
2    from San Francisco to OJP, which is Exhibit C to plaintiff’s First Amended Complaint, and to
3    which the Court is respectfully referred for a full and accurate statement of its contents.
4            88. This paragraph purports to summarize and characterize a press release by the Office
5    of Public Affairs of the U.S. Department of Justice, to which the Court is respectfully referred for
6    a full and accurate statement of its contents. Press Release, U.S. Dep’t of Justice, Justice
7    Department Sends Letters to 29 Jurisdictions Regarding Their Compliance with 8 U.S.C. 1373
8    (Nov. 15, 2017), https://www.justice.gov/opa/pr/justice-department-sends-letters-29-
9    jurisdictionsregarding-their-compliance-8-usc-1373.

10           89. The first sentence of this paragraph purports to summarize and characterize certain
11   letters from OJP, which are part of the Administrative Record in this matter, and to which the
12   Court is respectfully referred for a full and accurate statement of their contents. To the extent the
13   allegations of this sentence are inconsistent with the Administrative Record, defendants deny
14   them. The second sentence of this paragraph is in the nature of rhetorical commentary and legal
15   argument rather than factual allegations, including the assertion that the Department of Justice
16   “has engaged in a protracted back-and-forth” with several jurisdictions. As such, the second
17   sentence requires no response by the defendants; to the extent a response is deemed required, this
18   sentence is denied. The third sentence of this paragraph purports to summarize and characterize a
19   press release by the Office of Public Affairs of the U.S. Department of Justice, to which the Court
20   is respectfully referred for a full and accurate statement of its contents. Press Release, U.S. Dep’t
21   of Justice, Attorney General Jeff Sessions Delivers Remarks Before Media Availability in San
22   Diego, California (Apr. 21, 2017), https://www.justice.gov/opa/speech/attorney-general-jeff-
23   sessions-delivers-remarksmedia-availability-san-diego-california.
24           90. This paragraph is in the nature of rhetorical commentary and legal argument rather
25   than factual allegations, including assertions that certain letters “stand in stark contrast” to earlier
26   (unspecified) communications and that the Department of Justice has “offered no explanation” for
27   a policy decision. As such, this paragraph requires no response by the defendants. To the extent
28   a response is deemed required, this paragraph is denied.
     Answer to First Am. Complaint                      10
     No. 3:17-cv-04642-WHO
     Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 11 of 22



1           91. This paragraph sets forth plaintiff’s summary and characterization of a federal statute,
2    to which the Court is respectfully referred for a full and accurate statement of its contents, and
3    plaintiff’s conclusions of law, to which no response by the defendants is required. To the extent a
4    response is deemed required, plaintiff’s conclusions of law are denied.
5           92-93. These paragraphs purport to summarize and characterize certain congressional
6    measures, to which the Court is respectfully referred for a full and accurate statement of their
7    contents.
8           D.      The Department Of Justice Also Announced Two Additional Allegedly
9                   Unlawful Requirements For The FY 2017 Byrne JAG Program.
            94-95. These paragraphs purport to summarize and characterize a press release by the
10
     Office of Public Affairs of the U.S. Department of Justice, which is part of the Administrative
11
     Record in this matter, and to which the Court is respectfully referred for a full and accurate
12
     statement of its contents. Press Release, Attorney General Sessions Announces Immigration
13
     Compliance Requirements for Edward Byrne Memorial Justice Assistance Grant Programs (July
14
     25, 2017), https://www.justice.gov/opa/pr/attorney-general-sessions-announces-immigration-
15
     compliance-requirements-edward-byrne-memorial. To the extent the allegations of this
16
     paragraph are inconsistent with the Administrative Record, defendants deny them.
17
            96-99. These paragraphs purport to summarize and characterize the Byrne JAG Program
18
     state and local solicitations for Fiscal Year 2017, the first of which is part of the Administrative
19
     Record in this matter, and to which the Court is respectfully referred for a full and accurate
20
     statement of their contents. To the extent the allegations of this paragraph are inconsistent with
21
     the Administrative Record, defendants deny them. Defendants also specifically deny any
22
     implication that the language contained in the FY 2017 solicitations constituted the actual grant
23
     conditions with which grantees would be expected to comply.
24
            100. The first and second sentences of this paragraph purport to summarize and
25
     characterize the Edward Byrne Memorial Justice Assistance Grant Program FY 2017 Local
26
     Solicitation, to which the Court is respectfully referred for a full and accurate statement of its
27
     contents. Defendants specifically deny any implication that the language contained in the Local
28
     Answer to First Am. Complaint                     11
     No. 3:17-cv-04642-WHO
     Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 12 of 22



1    Solicitation constituted the actual grant conditions with which grantees would be expected to
2    comply. Defendants admit the third sentence of this paragraph.
3              101. This paragraph purports to summarize and characterize the Edward Byrne Memorial
4    Justice Assistance Grant Program FY 2017 Local Solicitation, to which the Court is respectfully
5    referred for a full and accurate statement of its contents. Defendants specifically deny any
6    implication that the language contained in the Local Solicitation constituted the actual grant
7    conditions with which grantees would be expected to comply.
8              102. Defendants admit this paragraph to the extent it refers to Fiscal Year 2017.
9              103. Defendants admit the first sentence of this paragraph. Defendants deny the second

10   sentence, except to admit that the Byrne JAG award documents issued to the County of
11   Greenville, South Carolina, and the City of Binghamton, New York, for FY 2017 contain the
12   actual “access” and “notice” conditions with which the grantees are expected to comply.
13             104. Defendants deny this paragraph, except to admit that, in absence of any applicable
14   court injunction, language identical to the “access” and “notice” conditions in the Greenville and
15   Binghamton award documents will appear in all award documents issued under the FY 2017
16   Byrne JAG - Local Solicitation.
17             105. This paragraph purports to summarize and characterize the FY 2017 Byrne JAG
18   award documents issued to the County of Greenville, South Carolina, to which the Court is
19   respectfully referred for a full and accurate statement of their contents.
20             106. This paragraph sets forth plaintiff’s summary and characterization of a federal
21   statute, to which the Court is respectfully referred for a full and accurate statement of its contents,
22   and plaintiff’s conclusions of law, to which no response by the defendants is required. To the
23   extent a response is deemed required, plaintiff’s conclusions of law are denied.
24             107. This paragraph sets forth plaintiff’s summary and characterization of certain
25   congressional measures, to which the Court is respectfully referred for a full and accurate state-
26   ment of their contents, and plaintiff’s conclusions of law, to which no response by the defendants
27   is required. To the extent a response is deemed required, plaintiff’s conclusions of law are
28   denied.
     Answer to First Am. Complaint                     12
     No. 3:17-cv-04642-WHO
     Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 13 of 22



1           108. The first sentence of this paragraph sets forth plaintiff’s conclusions of law, to which
2    no response by the defendants is required; to the extent a response is deemed required, plaintiff’s
3    conclusions of law are denied. The second sentence purports to summarize and characterize the
4    Edward Byrne Memorial Justice Assistance Grant Program FY 2017 Local Solicitation, to which
5    the Court is respectfully referred for a full and accurate statement of its contents. Defendants
6    specifically deny any implication that the language contained in the Local Solicitation constituted
7    the actual grant conditions with which grantees would be expected to comply.
8           109. This paragraph purports to summarize and characterize the FY 2017 Byrne JAG
9    award documents issued to the County of Greenville, South Carolina, and the City of

10   Binghamton, New York, to which the Court is respectfully referred for a full and accurate
11   statement of their contents.
12          110-112. These paragraphs purport to summarize and characterize the FY 2017 Byrne
13   JAG award documents issued to the County of Greenville, South Carolina, and the City of
14   Binghamton, New York, to which the Court is respectfully referred for a full and accurate
15   statement of their contents. These paragraphs also set forth plaintiff’s conclusions of law, to
16   which no response by the defendants is required; to the extent a response is deemed required,
17   plaintiff’s conclusions of law are denied.
18          113. This paragraph purports to quote and characterize a brief filed by the Department of
19   Justice in another case, to which the Court is respectfully referred for a full and accurate
20   statement of its contents.
21          114. This paragraph purports to summarize and characterize the FY 2017 Byrne JAG
22   award documents issued to the County of Greenville, South Carolina, and the City of
23   Binghamton, New York, to which the Court is respectfully referred for a full and accurate
24   statement of their contents. This paragraph also sets forth plaintiff’s conclusions of law, to which
25   no response by the defendants is required; to the extent a response is deemed required, plaintiff’s
26   conclusions of law are denied.
27          115. This paragraph purports to summarize and characterize certain provisions of
28   California law and the FY 2017 Byrne JAG award documents issued to the County of Greenville,
     Answer to First Am. Complaint                    13
     No. 3:17-cv-04642-WHO
     Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 14 of 22



1    South Carolina, and the City of Binghamton, New York, to which the Court is respectfully
2    referred for a full and accurate statement of their contents. This paragraph also sets forth
3    plaintiff’s conclusions of law, to which no response by the defendants is required; to the extent a
4    response is deemed required, plaintiff’s conclusions of law are denied.
5           116. This paragraph purports to summarize and characterize the FY 2017 Byrne JAG
6    award documents issued to the County of Greenville, South Carolina, and the City of
7    Binghamton, New York, to which the Court is respectfully referred for a full and accurate
8    statement of their contents. This paragraph also sets forth plaintiff’s conclusions of law, to which
9    no response by the defendants is required; to the extent a response is deemed required, plaintiff’s

10   conclusions of law are denied.
11   IV.    San Francisco Allegedly Faces Immediate Injury From DOJ’s Newly
12          Announced Requirements.

13          A.      DOJ Has Allegedly Threatened To Claw Back San Francisco’s FY 2016
                    Byrne JAG Funding.
14
            117. Defendants admit this paragraph.
15
            118. Defendants deny the first sentence of this paragraph, and aver that OJP informed all
16
     potential applicants for a FY 2016 Byrne JAG grant that applicants would be required to certify
17
     compliance with all applicable federal laws, and that 8 U.S.C. § 1373 was such a law.
18
     Defendants deny the second sentence of this paragraph, except to admit that OJP included the
19
     requirement to comply with Section 1373 as an express condition in certain grantees’ Byrne JAG
20
     award documents for FY 2016.
21
            119-120. These paragraphs purport to summarize and characterize certain guidance
22
     documents that OJP provided to Byrne JAG grantees on July 7 and October 6, 2016, which are
23
     part of the Administrative Record in this matter, and to which the Court is respectfully referred
24
     for a full and accurate statement of their contents. To the extent the allegations of this paragraph
25
     are inconsistent with the Administrative Record, defendants deny them.
26
            121-122. These paragraphs are in the nature of rhetorical commentary and legal argument
27
     rather than factual allegations, including assertions that defendants have taken certain action
28
     Answer to First Am. Complaint                    14
     No. 3:17-cv-04642-WHO
     Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 15 of 22



1    “despite” other circumstances and that defendants’ conduct constitutes an “about-face.” As such,
2    these paragraphs require no response by the defendants. To the extent a response is deemed
3    required, these paragraphs are denied.
4           123. Defendants lack knowledge or information sufficient to form a belief as to the truth
5    of the first sentence of this paragraph. The second sentence sets forth plaintiff’s conclusions of
6    law, to which no response by the defendants is required; to the extent a response is deemed
7    required, plaintiff’s conclusions of law are denied.
8           B.      The Section 1373 Certification And Additional FY 2017 Requirements
9                   Allegedly Put San Francisco To An Unconstitutional Choice.

10                  1.      In Order to Receive a FY 2017 Byrne JAG Grant, San Francisco
                            Will Be Required To Execute The Section 1373 Certification And
11                          Agree To The Notice And Access Conditions.
12          124. Defendants deny this paragraph, except to admit that San Francisco has received
13   Byrne JAG funds a number of times in prior years and has applied for a FY 2017 Byrne JAG
14   grant. Defendants aver that the Byrne JAG Program has existed since 2006 and that the Byrne
15   JAG Program was created by merging the Edward Byrne Memorial Grant Program, which began
16   in 1991, and the Local Law Enforcement Block Grant Program, which began in 1996.
17          125. Defendants deny the first sentence of this paragraph, except to admit that under the
18   Byrne JAG statutory formula, San Francisco is allotted a direct grant of $524,845, if it meets the
19   eligibility requirements. Defendants lack knowledge or information sufficient to form a belief as
20   to the truth of the second sentence; the amount of San Francisco’s expected FY 2017 pass-
21   through grant from the State of California cannot be confirmed until OJP makes a FY 2017 grant
22   to California and the State reports its pass-through grants.
23          126. Defendants admit this paragraph.
24          127. Defendants admit the first sentence of this paragraph. The remainder of this
25   paragraph purports to summarize and characterize plaintiff’s FY 2017 Byrne JAG application, to
26   which the Court is respectfully referred for a full and accurate statement of its contents.
27          128. Defendants admit this paragraph.
28
     Answer to First Am. Complaint                    15
     No. 3:17-cv-04642-WHO
     Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 16 of 22



1           129. Defendant deny this paragraph, except to admit that OJP has posted state allocations
2    showing that California will be entitled to $17.7 million in Byrne JAG funds for FY 2017 if OJP
3    determines that the State meets the eligibility requirements.
4           130. Defendants admit this paragraph.
5           131. The first sentence of this paragraph summarizes and characterizes a provision of
6    federal law, to which the Court is respectfully referred for a full and accurate statement of its
7    contents. Defendants lack knowledge or information sufficient to form a belief as to the truth of
8    the remainder of this paragraph.
9           132. Defendants lack knowledge or information sufficient to form a belief as to the truth

10   of the first, second, third, and fourth sentences of this paragraph. Defendants admit the fifth
11   sentence.
12          133-135. Defendants admit these paragraphs.
13                  2.      The Notice, Access, And Section 1373 Conditions Allegedly Create An
14                          Unconstitutional Choice For San Francisco.
            136. This paragraph is in the nature of rhetorical commentary and legal argument rather
15
     than factual allegations, including the assertion that the challenged grant conditions will create an
16
     “untenable” choice for the plaintiff. As such, this paragraph requires no response by the
17
     defendants. To the extent a response is deemed required, this paragraph is denied.
18
            137-138. These paragraphs set forth plaintiff’s conclusions of law, to which no response
19
     by the defendants is required. To the extent a response is deemed required, plaintiff’s conclusions
20
     of law are denied.
21
            139. Defendants lack knowledge or information sufficient to form a belief as to the truth
22
     of this paragraph.
23
            140. Defendants lack knowledge or information sufficient to form a belief as to the truth
24
     of the factual allegations in this paragraph. Defendants specifically deny any implication that the
25
     notice condition in the Byrne JAG Program necessarily requires providing federal officials with
26
     48 hours’ advance notice before an alien inmate’s release. This paragraph also sets forth plain-
27
28
     Answer to First Am. Complaint                     16
     No. 3:17-cv-04642-WHO
     Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 17 of 22



1    tiff’s conclusions of law, to which no response by the defendants is required; to the extent a
2    response is deemed required, plaintiff’s conclusions of law are denied.
3           141. Defendants admit the first sentence of this paragraph. Defendants lack knowledge
4    or information sufficient to form a belief as to the truth of the second sentence, except to admit
5    that defendants understand that the San Francisco Sheriff’s Department has a policy against
6    providing access to inmates in jail for ICE representatives conducting civil immigration
7    enforcement.
8           142. This paragraph sets forth plaintiff’ conclusions of law, to which no response by the
9    defendants is required; to the extent a response is deemed required, plaintiff’s conclusions of law

10   are denied. Moreover, defendants specifically aver that the notice condition is subject to an
11   express rule of construction providing that “[n]othing in this condition shall be understood to
12   authorize or require any recipient, any subrecipient at any tier, any State or local government, or
13   any other entity or individual to maintain (or detain) any individual in custody beyond the date
14   and time the individual would have been released in the absence of this condition.” Defendants
15   also specifically deny any implication that the language contained in the FY 2017 Byrne JAG
16   solicitations constituted the actual grant conditions with which grantees would be expected to
17   comply.
18          143. This paragraph sets forth plaintiff’s conclusions of law, to which no response by the
19   defendants is required. To the extent a response is deemed required, plaintiff’s conclusions of
20   law are denied.
21          144-145. These paragraphs are in the nature of rhetorical commentary and legal argument
22   rather than factual allegations, including assertions that defendants’ actions put San Francisco in
23   an “untenable” situation, that the City must make an “untenable” choice under the “cloud” of
24   defendants’ incorrect assertions, that the City will be “forced” to forgo millions of dollars of
25   “vital” law enforcement funding, and that the outcome is “ironic.” As such, these paragraphs
26   require no response by the defendants. To the extent a response is deemed required, these
27   paragraphs are denied.
28
     Answer to First Am. Complaint                    17
     No. 3:17-cv-04642-WHO
     Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 18 of 22



1              146-147. These paragraphs set forth plaintiff’s conclusions of law, which no response by
2    the defendants is required. To the extent a response is deemed required, plaintiff’s conclusions of
3    law are denied.
4              148-154. These paragraphs purport to summarize and characterize certain statements by
5    the White House Press Office, the Attorney General, the Inspector General of the Department of
6    Justice, the Principal Deputy Assistant Attorney General for the Office of Justice Programs, the
7    Deputy Director and Senior Official Performing the Duties of the Director for U.S. Immigration
8    and Customs Enforcement, and litigation counsel for the Federal Government, some of which
9    statements are part of the Administrative Record in this matter, and to which the Court is respect-

10   fully referred for a full and accurate statement of their contents. To the extent the allegations of
11   these paragraphs are inconsistent with the Administrative Record, defendants deny them. These
12   paragraphs also set forth plaintiff’s conclusions of law, to which no response by the defendants is
13   required; to the extent a response is deemed required, plaintiff’s conclusions of law are denied.
14             155-156. These paragraphs set forth plaintiff’s conclusions of law, to which no response
15   by the defendants is required. To the extent a response is deemed required, plaintiff’s conclusions
16   of law are denied.
17   V.        San Francisco Allegedly Needs Declaratory Relief That It Properly Can Certify
18             Compliance with Section 1373 As Required To Receive Byrne JAG Funds.
               157-163. These paragraphs set forth plaintiff’s conclusions of law, to which no response
19
     by the defendants is required. To the extent a response is deemed required, these paragraphs are
20
     denied.
21
               164. Defendants admit the first sentence of this paragraph, except to deny any implication
22
     that federal immigration detainer requests are not “warrants” and to aver that such requests
23
     constitute administrative warrants. The second sentence sets forth plaintiff’s conclusions of law,
24
     to which no response by the defendants is required; to the extent a response is deemed required,
25
     this sentence is denied.
26
               165. Defendants deny the second sentence of this paragraph, except to admit that San
27
     Francisco does not generally provide a detainee’s home address, residence, date of birth, or
28
     Answer to First Am. Complaint                     18
     No. 3:17-cv-04642-WHO
     Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 19 of 22



1    similar information to federal immigration officials. The first and third sentences of this
2    paragraph set forth plaintiff’s conclusions of law, to which no response by the defendants is
3    required; to the extent a response is deemed required, these sentences are denied.
4                                                COUNT ONE:
5
         DECLARATORY RELIEF – SAN FRANCISCO ALLEGEDLY COMPLIES WITH
6            THE REQUIREMENTS OF THE SECTION 1373 CERTIFICATION

7            166. Defendants repeat and incorporate by reference each response and averment of the

8    prior paragraphs as if fully set forth herein.

9            167. The first sentence of this paragraph sets forth plaintiff’s characterization of this

10   action, to which no response by the defendants is required. The second sentence sets forth

11   plaintiff’s conclusions of law, to which no response by the defendants is required; to the extent a

12   response is deemed required, plaintiff’s conclusions of law are denied.

13           168-171. These paragraphs set forth plaintiff’s conclusions of law, to which no response

14   by the defendants is required. To the extent a response is deemed required, plaintiff’s conclusions

15   of law are denied.

16           172. Defendants deny this paragraph, except to admit that Chapters 12H and 12I of the

17   Administrative Code are the only San Francisco ordinances that defendants have identified as

18   potentially violating Section 1373. Defendants specifically deny any implication that San

19   Francisco has no “policies” or “practices” that violate Section 1373.

20           173. This paragraph sets forth plaintiff’s conclusions of law, to which no response by the

21   defendants is required; to the extent a response is deemed required, plaintiff’s conclusions of law

22   are denied. This paragraph also purports to summarize and characterize a federal statute and a

23   judicial decision, to which the Court is respectfully referred for a full and accurate statement of

24   their contents.

25           174-176. These paragraphs set forth plaintiff’s conclusions of law, to which no response

26   by the defendants is required. To the extent a response is deemed required, plaintiff’s conclusions

27   of law are denied.

28
     Answer to First Am. Complaint                     19
     No. 3:17-cv-04642-WHO
     Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 20 of 22



1                                               COUNT TWO:
2                                       SEPARATION OF POWERS
3                            (Notice, Access, and Section 1373 Requirements)
4            177. Defendants repeat and incorporate by reference each response and averment of the
5    prior paragraphs as if fully set forth herein.
6            178-179. Defendants admit these paragraphs.
7            180. This paragraph purports to summarize and characterize the Byrne JAG FY 2017
8    grant solicitations, to which the Court is respectfully referred for a full and accurate statement of
9    their contents. Defendants specifically deny any implication that the language contained in the

10   solicitations constituted the actual grant conditions with which grantees would be expected to
11   comply.
12           181. This paragraph purports to summarize and characterize the FY 2017 Byrne JAG
13   award documents issued to the County of Greenville, South Carolina, and the City of
14   Binghamton, New York, to which the Court is respectfully referred for a full and accurate
15   statement of their contents.
16           182. Defendants admit this paragraph.
17           183-188. These paragraphs purport to summarize and characterize certain provisions of
18   the U.S. Constitution and federal statutes, to which the Court is respectfully referred for a full and
19   accurate statement of their contents. These paragraphs also set forth plaintiff’s conclusions of
20   law, to which no response by the defendants is required; to the extent a response is deemed
21   required, plaintiff’s conclusions of law are denied.
22                                             COUNT THREE:
23                                          SPENDING CLAUSE
24                           (Notice, Access, and Section 1373 Requirements)
25           189. Defendants repeat and incorporate by reference each response and averment of the
26   prior paragraphs as if fully set forth herein.
27
28
     Answer to First Am. Complaint                     20
     No. 3:17-cv-04642-WHO
     Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 21 of 22



1           190-192. These paragraphs set forth plaintiff’s conclusions of law, to which no response
2    by the defendants is required; to the extent a response is deemed required, plaintiff’s conclusions
3    of law are denied.
4                                PLAINTIFF’S PRAYER FOR RELIEF
5           The remainder of the First Amended Complaint sets forth plaintiff’s prayer for relief, to
6    which no response by the defendants is required. To the extent any response is deemed required,
7    these allegations are denied.
8                                                   * * *
9           Each and every allegation of the First Amended Complaint not heretofore expressly

10   admitted or denied is hereby denied.
11          WHEREFORE, having fully answered, defendants pray that:
12          1. This Court enter judgment for defendants and dismiss this action with prejudice;
13          2. Plaintiff be assessed the costs of this litigation; and
14          3. Defendants be granted such further relief as this Court may deem just and proper.
15   Dated: April 4, 2018

16
                                                        Respectfully submitted,
17
                                                        CHAD A. READLER
18                                                      Acting Assistant Attorney General
19
                                                        ALEX G. TSE
20                                                      Acting United States Attorney

21                                                      JOHN R. TYLER
                                                        Assistant Director
22
23                                                      /s/ W. Scott Simpson

24                                                      W. SCOTT SIMPSON (Va. Bar #27487)
                                                        Senior Trial Counsel
25
26
27
28
     Answer to First Am. Complaint                     21
     No. 3:17-cv-04642-WHO
     Case 3:17-cv-04642-WHO Document 88 Filed 04/04/18 Page 22 of 22



1                                        Attorneys, Department of Justice
                                         Civil Division, Room 7210
2                                        Federal Programs Branch
3                                        20 Massachusetts Avenue, N.W.
                                         Washington, D.C. 20530
4                                        Telephone: (202) 514-3495
                                         Facsimile: (202) 616-8470
5                                        E-mail:      scott.simpson@usdoj.gov
6                                        COUNSEL FOR DEFENDANTS
7
                                         JEFFERSON B. SESSIONS III, Attorney
8                                        General of the United States; ALAN R.
                                         HANSON, Principal Deputy Assistant Attorney
9                                        General; and U.S. DEPARTMENT OF
                                         JUSTICE
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Answer to First Am. Complaint       22
     No. 3:17-cv-04642-WHO
    Case 3:17-cv-04642-WHO Document 88-1 Filed 04/04/18 Page 1 of 7




City & County of San Francisco v. Jefferson B. Sessions,
                        et al.,
         No. 3:17-cv-04642-WHO (N.D. Cal.)

    Defendants’ Answer to First Amended Complaint




                          Attachment 1


      U.S. Immigration and Customs Enforcement
    Policy Number 10074.2, Issuance of Immigration
         Detainers by ICE Immigration Officers
                    (Mar. 24, 2017)
Case 3:17-cv-04642-WHO Document 88-1 Filed 04/04/18 Page 2 of 7
Case 3:17-cv-04642-WHO Document 88-1 Filed 04/04/18 Page 3 of 7
Case 3:17-cv-04642-WHO Document 88-1 Filed 04/04/18 Page 4 of 7
Case 3:17-cv-04642-WHO Document 88-1 Filed 04/04/18 Page 5 of 7
Case 3:17-cv-04642-WHO Document 88-1 Filed 04/04/18 Page 6 of 7
Case 3:17-cv-04642-WHO Document 88-1 Filed 04/04/18 Page 7 of 7
    Case 3:17-cv-04642-WHO Document 88-2 Filed 04/04/18 Page 1 of 4




City & County of San Francisco v. Jefferson B. Sessions,
                        et al.,
         No. 3:17-cv-04642-WHO (N.D. Cal.)

    Defendants’ Answer to First Amended Complaint




                          Attachment 2


Department of Homeland Security, Immigration Detainer
     - Notice of Action, DHS Form I-247A (3/17)
                    Case 3:17-cv-04642-WHO  Document
                                    DEPARTMENT       88-2 Filed
                                               OF HOMELAND      04/04/18 Page 2 of 4
                                                           SECURITY
                              IMMIGRATION DETAINER - NOTICE OF ACTION
Subject ID:                                                                                      File No:
Event #:                                                                                         Date:

TO: (Name and Title of Institution - OR Any Subsequent Law                  FROM: (Department of Homeland Security Office Address)
     Enforcement Agency)




Name of Alien:

Date of Birth:                                     Citizenship:                                                                Sex:

 1. DHS HAS DETERMINED THAT PROBABLE CAUSE EXISTS THAT THE SUBJECT IS A REMOVABLE ALIEN. THIS
    DETERMINATION IS BASED ON (complete box 1 or 2).

       A final order of removal against the alien;
       The pendency of ongoing removal proceedings against the alien;
       Biometric confirmation of the alien’s identity and a records check of federal databases that affirmatively indicate, by themselves
       or in addition to other reliable information, that the alien either lacks immigration status or notwithstanding such status is
       removable under U.S. immigration law; and/or
       Statements made by the alien to an immigration officer and/or other reliable evidence that affirmatively indicate the alien either
       lacks immigration status or notwithstanding such status is removable under U.S. immigration law.

 2. DHS TRANSFERRED THE ALIEN TO YOUR CUSTODY FOR A PROCEEDING OR INVESTIGATION (complete box 1 or 2).

       Upon completion of the proceeding or investigation for which the alien was transferred to your custody, DHS intends to resume
       custody of the alien to complete processing and/or make an admissibility determination.

IT IS THEREFORE REQUESTED THAT YOU:
   • Notify DHS as early as practicable (at least 48 hours, if possible) before the alien is released from your custody.   Please notify
     DHS by calling           U.S. Immigration and Customs Enforcement (ICE) or             U.S. Customs and Border Protection (CBP) at
                            . If you cannot reach an official at the number(s) provided, please contact the Law Enforcement Support
     Center at: (802) 872-6020.
   • Maintain custody of the alien for a period NOT TO EXCEED 48 HOURS beyond the time when he/she would otherwise have
     been released from your custody to allow DHS to assume custody. The alien must be served with a copy of this form for the
     detainer to take effect. This detainer arises from DHS authorities and should not impact decisions about the alien’s bail,
     rehabilitation, parole, release, diversion, custody classification, work, quarter assignments, or other matters
   • Relay this detainer to any other law enforcement agency to which you transfer custody of the alien.
   • Notify this office in the event of the alien's death, hospitalization or transfer to another institution.
       If checked: please cancel the detainer related to this alien previously submitted to you on                                (date).


                 (Name and title of Immigration Officer)                                 (Signature of Immigration Officer) (Sign in ink)


 Notice: If the alien may be the victim of a crime or you want the alien to remain in the United States for a law enforcement purpose,
 notify the ICE Law Enforcement Support Center at (802) 872-6020. You may also call this number if you have any other questions or
 concerns about this matter.

TO BE COMPLETED BY THE LAW ENFORCEMENT AGENCY CURRENTLY HOLDING THE ALIEN WHO IS THE SUBJECT OF THIS
NOTICE:

Please provide the information below, sign, and return to DHS by mailing, emailing or faxing a copy to                                       .
Local Booking/Inmate #:                 Estimated release date/time:

Date of latest criminal charge/conviction:                       Last offense charged/conviction:

This form was served upon the alien on                            , in the following manner:

    in person           by inmate mail delivery            other (please specify):


                   (Name and title of Officer)                                                      (Signature of Officer) (Sign in ink)
DHS Form I-247A (3/17)                                                                                                                      Page 1 of 3
                Case 3:17-cv-04642-WHO Document 88-2 Filed 04/04/18 Page 3 of 4
                                             NOTICE TO THE DETAINEE
The Department of Homeland Security (DHS) has placed an immigration detainer on you. An immigration detainer is a
notice to a law enforcement agency that DHS intends to assume custody of you (after you otherwise would be released
from custody) because there is probable cause that you are subject to removal from the United States under federal
immigration law. DHS has requested that the law enforcement agency that is currently detaining you maintain custody of
you for a period not to exceed 48 hours beyond the time when you would have been released based on your criminal
charges or convictions. If DHS does not take you into custody during this additional 48 hour period, you should
contact your custodian (the agency that is holding you now) to inquire about your release. If you believe you are a
United States citizen or the victim of a crime, please advise DHS by calling the ICE Law Enforcement Support
Center toll free at (855) 448-6903.


                                     NOTIFICACIÓN A LA PERSONA DETENIDA
El Departamento de Seguridad Nacional (DHS) le ha puesto una retención de inmigración. Una retención de inmigración
es un aviso a una agencia de la ley que DHS tiene la intención de asumir la custodia de usted (después de lo contrario,
usted sería puesto en libertad de la custodia) porque hay causa probable que usted está sujeto a que lo expulsen de los
Estados Unidos bajo la ley de inmigración federal. DHS ha solicitado que la agencia de la ley que le tiene detenido
actualmente mantenga custodia de usted por un periodo de tiempo que no exceda de 48 horas más del tiempo original
que habría sido puesto en libertad en base a los cargos judiciales o a sus antecedentes penales. Si DHS no le pone en
custodia durante este periodo adicional de 48 horas, usted debe de contactarse con su custodio (la agencia que
le tiene detenido en este momento) para preguntar acerca de su liberación. Si usted cree que es un ciudadano de los
Estados Unidos o la víctima de un crimen, por favor avise al DHS llamando gratuitamente al Centro de Apoyo a la
Aplicación de la Ley ICE al (855) 448-6903.


                                          AVIS AU DETENU OU À LA DÉTENUE
 Le Département de la Sécurité Intérieure (DHS) a placé un dépositaire d'immigration sur vous. Un dépositaire
 d'immigration est un avis à une agence de force de l'ordre que le DHS a l'intention de vous prendre en garde à vue
 (après celà vous pourrez par ailleurs être remis en liberté) parce qu'il y a une cause probable que vous soyez sujet à
 expulsion des États-Unis en vertu de la loi fédérale sur l'immigration. Le DHS a demandé que l'agence de force de
 l'ordre qui vous détient actuellement puisse vous maintenir en garde pendant une période ne devant pas dépasser 48
 heures au-delà du temps après lequel vous auriez été libéré en se basant sur vos accusations criminelles ou
 condamnations. Si le DHS ne vous prenne pas en garde à vue au cours de cette période supplémentaire de 48
 heures, vous devez contacter votre gardien (ne) (l'agence qui vous détient maintenant) pour vous renseigner sur
 votre libération. Si vous croyez que vous êtes un citoyen ou une citoyenne des États-Unis ou une victime d'un
 crime, s'il vous plaît aviser le DHS en appelant gratuitement le centre d'assistance de force de l'ordre de l'ICE au
 (855) 448-6903



                                            NOTIFICAÇÃO AO DETENTO
O Departamento de Segurança Nacional (DHS) expediu um mandado de detenção migratória contra você. Um mandado
de detenção migratória é uma notificação feita à uma agência de segurança pública que o DHS tem a intenção de
assumir a sua custódia (após a qual você, caso contrário, seria liberado da custódia) porque existe causa provável que
você está sujeito a ser removido dos Estados Unidos de acordo com a lei federal de imigração. ODHS solicitou à agência
de segurança pública onde você está atualmente detido para manter a sua guarda por um período de no máximo 48
horas além do tempo que você teria sido liberado com base nas suas acusações ou condenações criminais. Se o DHS
não leva-lo sob custódia durante este período adicional de 48 horas, você deve entrar em contato com quem
tiver a sua custódia (a agência onde você está atualmente detido) para perguntar a respeito da sua liberação. Se você
acredita ser um cidadão dos Estados Unidos ou a vítima de um crime, por favor informe ao DHS através de uma
ligação gratuita ao Centro de Suporte de Segurança Pública do Serviço de Imigração e Alfândega (ICE) pelo
telefone (855) 448-6903.




DHS Form I-247A (3/17)                                                                                       Page 2 of 3
                Case 3:17-cv-04642-WHO Document 88-2 Filed 04/04/18 Page 4 of 4
                                       THÔNG BÁO CHO NGѬӠI Bӎ GIAM

Bӝ Nӝi An (DHS) ÿã ra lӋnh giam giӳ di trú ÿӕi vӟi quý vӏ. Giam giӳ di trú là mӝt thông báo cho cѫ quan công lӵc
rҵng Bӝ Nӝi An sӁ ÿҧm ÿѭѫng viӋc lѭu giӳ quý vӏ (sau khi quý vӏ ÿѭӧc thҧ ra) bӣi có lý do khҧ tín quý vӏ là ÿӕi
tѭӧng bӏ trөc xuҩt khӓi Hoa KǤ theo luұt di trú liên bang. Sau khi quý vӏ ÿã thi hành ÿҫy ÿӫ thӡi gian cӫa bҧn án
dӵa trên các tӝi phҥm hay các kӃt án, thay vì ÿѭӧc thҧ tӵ do, Bӝ Nӝi An ÿã yêu cҫu cѫ quan công lӵc giӳ quý vӏ
lҥi thêm không quá 48 tiӃng ÿӗng hӗ nӳa. NӃu Bӝ Nӝi An không ÿӃn bҳt quý vӏ sau 48 tiӃng ÿӗng hӗ phө trӝi ÿó,
quý vӏ cҫn liên lҥc vӟi cѫ quan hiӋn ÿang giam giӳ quý vӏ dӇ tham khҧo vӅ viӋc trҧ tӵ do cho quý vӏ. NӃu quý vӏ là
công dân Hoa KǤ hay tin rҵng mình là nҥn nhân cӫa mӝt tӝi ác, xin vui lòng báo cho Bӝ Nӝi An bҵng cách gӑi sӕ
ÿiӋn thoҥi miӉn phí 1(855) 448-6903 cho Trung Tâm Hӛ Trӧ Cѫ Quan Công Lӵc Di Trú.



                                                塓㊀䔁侭忂䞍㚠
⚳⛇⬱ℐ悐(Department of Homeland Security炻䯉䧙DHS)⶚䴻⮵Ἀ䘤↢䦣㮹㊀䔁Ẍˤġ
䦣㮹㊀䔁Ẍ䁢ᶨ䴎Ḱ➟㱽㨇㥳䘬忂䞍㚠炻斉㖶DHSシ㫚䌚⍾⮵Ἀ䘬估㉤㪲(劍朆㚱㬌估㉤
㪲炻Ἀ⮯㚫塓慳㓦)烊⚈䁢㟡㒂倗恎䦣㮹㱽ἳ炻᷎➢㕤⎰䎮䘬⍇䓙炻Ἀ⮯㚫塓怆妋暊伶ġ
⚳⚳⠫ˤDHSṎ⶚天㯪䎦㬋㊀䔁Ἀ䘬➟㱽㨇㥳炻⛐Ἀ⚈⍿⇘↹ḳ㩊㍏ㆾ⭂伒⼴炻侴⛐㛔
ㅱ塓慳㓦䘬䦳⸷ᶳ炻两临⮵Ἀἄ↢ᶵ崭忶⚃⋩ℓ⮷㗪䘬䚋䭉ˤ劍Ἀ⛐忁旬≈䘬⚃⋩ℓ⮷
㗪ℏ炻ṵ㛒⍲䦣Ṍ军DHS䘬䚋䭉ᶳ炻Ἀㅱ䔞倗䴉Ἀ䘬䚋䭉Ṣ(⌛䎦㬋䚋䭉Ἀ䘬㨇㥳)㞍娊ġ
㚱斄Ἀ慳㓦䘬ḳ⭄ˤ劍Ἀ娵䁢Ἀ㗗伶⚳℔㮹ㆾ䁢伒㟰⍿⭛侭炻婳农暣ICE➟㱽悐㓗㎜ᷕ⽫
(Law Enforcement Support Center)䞍㚫DHS炻⃵屣暣娙嘇䡤烉(855)448-6903ˤ




DHS Form I-247A (3/17)                                                                                  Page 3 of 3
    Case 3:17-cv-04642-WHO Document 88-3 Filed 04/04/18 Page 1 of 2




City & County of San Francisco v. Jefferson B. Sessions,
                        et al.,
         No. 3:17-cv-04642-WHO (N.D. Cal.)

    Defendants’ Answer to First Amended Complaint




                          Attachment 3


       ICE Guidance for Completing Form I-247A
     Case 3:17-cv-04642-WHO Document 88-3 Filed 04/04/18 Page 2 of 2


            ICE GUIDANCE FOR COMPLETING FORM I-247A


1.   Form I-247A (Immigration Detainer – Notice of Action). Effective April 2, 2017, the
     Department rescinded Form I-247D (Immigration Detainer – Request for Voluntary
     Action), Form I-247N (Request for Voluntary Notification of Release of Suspected
     Priority Alien), and Form I-247X (Request for Voluntary Transfer), and replaced them
     with a consolidated detainer form, the Form I-247A (Immigration Detainer – Notice of
     Action). The Form I-247D, Form I-247N, and Form I-247X may not be issued after
     April 2, 2017. Detainers issued on prior versions of the detainer form remain active and
     need not be replaced with a Form I-247A.

2.   Form I-247A, Box 1.

     1) When Box 1 is checked, Form I-247A requests that the receiving LEA: (1) notify
        DHS as early as practicable, at least 48 hours, if possible, before a removable alien is
        released from criminal custody; and (2) maintain custody of the alien for a period not
        to exceed 48 hours beyond the time he or she would otherwise have been released to
        allow DHS to assume custody for removal purposes.

     2) Prior to issuing an immigration detainer to an LEA, immigration officers must have
        probable cause to believe that the individual they seek to detain is a removable alien.

     3) The Form I-247A advises that a copy of the form must be served on the alien in order
        for the detainer to take effect.

3.   Form I-247A, Box 2.

     1) When a federal, state, local, or tribal LEA requests that ICE transfer an alien detained
        in ICE custody for a proceeding or investigation, the immigration officer will check
        Box 2 on Form I-247A.

     2) If using Box 2, the immigration officer should not complete Box 1.

     3) Immigration officers who transfer an alien into the custody of another federal, state,
        local, or tribal LEA must serve a copy of the completed detainer form on the alien
        before transfer.

     4) When Box 2 is checked, Form I-247A requests that the receiving LEA: (1) notify
        DHS as early as practicable, at least 48 hours, if possible, before a removable alien is
        released from criminal custody; and (2) maintain custody of the alien for a period not
        to exceed 48 hours beyond the time he or she would otherwise have been released to
        allow DHS to assume custody for removal purposes.




                                                                              Page 1 of 1
    Case 3:17-cv-04642-WHO Document 88-4 Filed 04/04/18 Page 1 of 2




City & County of San Francisco v. Jefferson B. Sessions,
                        et al.,
         No. 3:17-cv-04642-WHO (N.D. Cal.)

    Defendants’ Answer to First Amended Complaint




                          Attachment 4


         U.S. Department of Homeland Security
               Warrant for Arrest of Alien
                Form I-200 (Rev. 09/16)
           Case 3:17-cv-04642-WHO Document 88-4 Filed 04/04/18 Page 2 of 2


   U.S. DEPARTMENT OF HOMELAND SECURITY                             Warrant for Arrest of Alien


                                                                           File No. ________________

                                                                           Date: ___________________

   To:     Any immigration officer authorized pursuant to sections 236 and 287 of the
           Immigration and Nationality Act and part 287 of title 8, Code of Federal
           Regulations, to serve warrants of arrest for immigration violations

   I have determined that there is probable cause to believe that ____________________________
   is removable from the United States. This determination is based upon:

          the execution of a charging document to initiate removal proceedings against the subject;

          the pendency of ongoing removal proceedings against the subject;




                                                         E
          the failure to establish admissibility subsequent to deferred inspection;

          biometric confirmation of the subject’s identity and a records check of federal
                                           PL
         databases that affirmatively indicate, by themselves or in addition to other reliable
         information, that the subject either lacks immigration status or notwithstanding such status
         is removable under U.S. immigration law; and/or

          statements made voluntarily by the subject to an immigration officer and/or other
                                M
         reliable evidence that affirmatively indicate the subject either lacks immigration status or
         notwithstanding such status is removable under U.S. immigration law.

   YOU ARE COMMANDED to arrest and take into custody for removal proceedings under the
             SA


   Immigration and Nationality Act, the above-named alien.

                                                 __________________________________________
                                                         (Signature of Authorized Immigration Officer)

                                                 __________________________________________
                                                  (Printed Name and Title of Authorized Immigration Officer)

                                           Certificate of Service

I hereby certify that the Warrant for Arrest of Alien was served by me at __________________________
                                                                                          (Location)

on ______________________________ on _____________________________, and the contents of this
             (Name of Alien)                          (Date of Service)

notice were read to him or her in the __________________________ language.
                                                 (Language)

________________________________________             __________________________________________
           Name and Signature of Officer                      Name or Number of Interpreter (if applicable)

                                                                                             Form I-200 (Rev. 09/16)


______________
    Case 3:17-cv-04642-WHO Document 88-5 Filed 04/04/18 Page 1 of 3




City & County of San Francisco v. Jefferson B. Sessions,
                        et al.,
         No. 3:17-cv-04642-WHO (N.D. Cal.)

    Defendants’ Answer to First Amended Complaint




                          Attachment 5


           Department of Homeland Security
      U.S. Immigration and Customs Enforcement
            Warrant of Removal/Deportation
                ICE Form I-205 (8/07)
                 Case 3:17-cv-04642-WHO Document 88-5 Filed 04/04/18 Page 2 of 3
                                         DEPARTMENT OF HOMELAND SECURITY
                                      U.S. Immigration and Customs Enforcement
                                      WARRANT OF REMOVAL/DEPORTATION

                                                                                               File No:

                                                                                                  Date:

To any immigration officer of the United States Department of Homeland Security:


                                                     (Full name of alien)

who entered the United States at                                                     on
                                                   (Place of entry)                               (Date of entry)

is subject to removal/deportation from the United States, based upon a final order by:

              an immigration judge in exclusion, deportation, or removal proceedings
              a designated official




                                                                      E
              the Board of Immigration Appeals
              a United States District or Magistrate Court Judge
                                                 PL
and pursuant to the following provisions of the Immigration and Nationality Act:
                                        M
I, the undersigned officer of the United States, by virtue of the power and authority vested in the Secretary of Homeland
Security under the laws of the United States and by his or her direction, command you to take into custody and remove
                    SA


from the United States the above-named alien, pursuant to law, at the expense of:




                                                                            (Signature of immigration officer)


                                                                              (Title of immigration officer)



                                                                               (Date and office location)




ICE Form I-205 (8/07)                                                                                               Page 1 of 2
                  Case 3:17-cv-04642-WHO Document 88-5 Filed 04/04/18 Page 3 of 3
To be completed by immigration officer executing the warrant: Name of alien being removed:



Port, date, and manner of removal:




                           Photograph of alien                                               Right index fingerprint
                                removed                                                        of alien removed




                                                                          E
                   (Signature of alien being fingerprinted)
                                                        PL
            (Signature and title of immigration officer taking print)


Departure witnessed by:
                                          M
                                                 (Signature and title of immigration officer)


If actual departure is not witnessed, fully identify source or means of verification of departure:
                     SA



If self-removal (self-deportation), pursuant to 8 CFR 241.7, check here.


Departure Verified by:
                                              (Signature and title of immigration officer)




ICE Form I-205 (8/07)                                                                                                  Page 2 of 2
